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The fall of 2013 was the time that forever changed my life! That fall morning, I received a call
from my family stating that the FBI is going thru the house, looking for electronic devices. It
was a moment that honestly changed my life for the better, a turning point if you will. I had
been caught! I knew why they were there, my family did not. It was a life changing event, not
just for me, but for everyone in my world

My family had no idea of my online activities, I was running a double life while in these forums.
It has now been over six years since I visited those sites. The day of the raid, I made a promise,
a commitment to and I swore to being a better person, father, son and member of society and
that what I did was wrong in so many ways and I felt ashamed, sick and dirty and at that time,
it was then that I took every opportunity to better myself and never venture down that dark
place again!

I knew what I was doing was wrong when I was doing it. I didn’t know what I know now, but I
still knew it was wrong. Now I know,

It wasn’t until recently that the legal actions caught up to me, I thought there was nothing
found, or proven and that the case had expired or had been dropped, as it was radio silence
for five years. I had gained in rank at my highly respected job, one that only 200 or so people
can perform in the world, making a six figure salary, my wife and I are raising a young man that
has so much care and empathy towards the world, I’m a committed husband that has the most
respect and love for his wife and life was on the up and up.

In the community, I was a cub scout den leader, casting my eagle scout knowledge on to the
pack, I was active in the community by participating in my sons school and I threw
neighborhood BBQ parties every year for our community. This past June, the charges were
going to be filed, and my life turned upside-down. I have now hit rock bottom.

My past activities have caused a great deal of trouble to my family in so many fashions. I have
lost my job, I have drained my savings, my parents have put their savings into my legal
matters, I have lost our house, and so much more, and facing a prison sentence which would
result in missing the most influential years of my sons life. I have brought this on myself. The
decision was so selfish. For example: I have had to reveal my activities to all my family
members, explaining my actions was humiliating and shameful. Having my wife explain the
situation to her co-workers and friends, the embarkment she has to endure and mostly the
disappointment of not attending special events with my son, and not having him have
sleepovers, birthday parties and other key social events in our household, all due to my selfless
actions. So yes, this has changed my life forever, but it’s also changed so many other lives.
I’m a better person than this awful act, and that’s why I’m dedicating my life to demonstrating
my recovery and my rehabilitation every day.


I’m so scared right now, I’m sacred of being an absent father for my son during his most
demanding times that he is about to enter, I’m scared for my wife who is preparing to be
without me for the next five years. I’m scared that I will not be there for my parents if they need
my help and support over the next five years.

I’m scared for my in-laws and the ability to not oﬀer the recent support of my father in-law who
just had a major stroke at the beginning of December. Not being around to support, care and
help with his rehabilitation, taking him to appointments, and giving care when my mother in-law
needs it the most.




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I’m incredibly mad at myself. I can’t believe I did this to everyone around me. I can’t believe I
got caught once before, and didn’t stop. I suppose I felt like they would not catch me. I
always knew what I was doing was wrong, but I did it anyway. I didn’t consider the feelings,
the harm and the continued exploitation of the victims. They didn’t need me to exploit them
more. After spending a lot of time reflecting, and soul searching, I now have an understand of
what those girls went through, what their parents went through, for those families to get by and
the only way to do so was to exploit their own children. I can’t fathom why parents of these
girls would want to subject them to such an act at an early age of their lives. To be exploited
and viewed at by others, their innocence being lost repeatedly. The ever-lasting eﬀect of this
exploitation, continues on every day of their lives, even to today. I can’t comprehend, as a
parent, to ever put my child through that situation or pain and embarrassment, and for me to
contribute to that exploitation, just hurts me to so many levels, I’m deeply upset and sorry for
my past actions.

Over the past six months, I have taken every opportunity to obtain an understanding of what
made me do these actions. I have sought support and a sponsor to SAA meetings to re-aﬃrm
my commitment to not re-oﬀend, sought on-line courses to fully understand the addiction that I
had and to “re-wire” my actions in my mind to have an ability to understand the cause of these
actions and I have had one on one therapy with therapists exploring the ways I thought and
ways to focus my attention to more constructive and positive way.

 I have also continued to contribute to the community with volunteering at Habitat for
Humanity, to give back to society the things I took away. The lessons I have learned from this
opportunity has been beneficial to my recovery, to have an understanding of those that have
been less fortunate than myself, the need for help from the community really plays a role in
their day to day lives. It oﬀers them support and encouragement when everyone else has let
them down, I feel fortunate to oﬀer the less fortunate my experience and knowledge to better
their lives in some fashion.

As over the last six years, I have still had the same access to the internet, as I had prior to the
investigation and I have not reoﬀended or even tried to look at that content. I cannot argue
that my actions are not worth a punishment but I have taken the opportunity to establish a
support system, a series of safe guards to prevent me from ever making this mistake again. I
have a deep understanding of the harm I caused and have made strides in understanding and
preventing these actions from ever occurring again.

If I never had been caught, I believe my marriage would have ended, I would be very less
successful in my career and I would not have had the opportunity to seek the much needed
treatment I needed. There is a silver lining to this and I’m so very thankful for being forced to
make this change and commit my energy to something positive in my life.

Everything I have stated is a contributing cause and it’s positive eﬀect, not only to myself, but
society, proving that I am not a risk or at risk to reoﬀend, the cause of my SAA groups, my
sponsor support and the continued support from those members make sure that I maintain my
honesty, integrity and focus on my understanding and sobriety of my past addiction. My
weekly meeting with my therapist, help me to understand why I chose these past actions, and
create positive alternatives, these meetings also help focus on my family, stress and responses
to the negative actions caused by my past actions, and dig to the root of my past disease. The
community service that I provide almost on a weekly help me give back to the community,
even though, remotely, giving back something I took away by oﬀering my skills of those less
fortunate create a feeling of accomplishment of return what I took away, even though it’s in a
diﬀerent form, I least I can give back in some fashion, in-directly. The on-line course and
sessions I attend oﬀer the support to really understand the direct cause of my addiction, going
to the roots of the problem and fixing them, or as they say, perform a re-wire to utilize the mind



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in a positive way as opposed to a negative and damaging way. My continued professional
work keeps me active, supportive and my creative ideas flowing. I love my professional work
and with me focusing on job, creates the time to be productive and busy, not pondering and
thinking about my past.

The amount of pain, trust, loss, hurt, anger, sadness, selfish and financial damage that my
actions have caused, will be in my heart forever, knowing what I have done, and how I hurt so
many.

While my past is embarrassing and hurtful to my family and my name, my past actions remind
me everyday to better myself for the future.




                                                                        EXHIBIT G.003
